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 Feb 16, 2021, NYT & Natl, pg B6




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CMYK                                                                                                                                  Nxxx,2021-02-16,B,006,Bs-4C,E1


B6                                    N                                                                                                                          THE NEW YORK TIMES BUSINESS TUESDAY, FEBRUARY 16, 2021



                                                                                                                                                                                        VIRUS FALLOUT




Remote Education
Isn’t Just for Children
              By KERRY HANNON                                                      it learning platforms, workshop
    Deb Livingston, a former busi-                                                 providers and nonprofit organiza-
ness consultant, was always curi-                                                  tions.
ous and eager to learn just about                                                     The new platforms are also
anything.                                                                          opening doors to more adults.
    “When the pandemic hit, I was                                                  “There are already tons of people
confined at home and found my-                                                     who, once upon a time, by dint of
self diving into online explora-                                                   age or circumstance, wouldn’t tra-
tion,” said Ms. Livingston, 61. She                                                ditionally have gotten the chance
discovered GetSetUp, an interac-                                                   to partake in education, but can
                                                                                   now sign up for free online
tive website that delivers virtual
                                                                                   courses,” Mr. Yoquinto said. Par-
education to older adults.
                                                                                   ticipants can choose a class here
    Even former chief executives
                                                                                   and there, without strapping on a
like Jeff Mihm, a Miami resident
                                                                                   backpack and heading to campus
who led Noven Pharmaceuticals,
                                                                                   or signing up for expensive de-
sometimes need a new direction.
                                                                                   gree programs.
    After resigning from his corpo-                                                   Virtual learning has become
rate post, Mr. Mihm, 55, decided to                                                “the great equalizer,” said Gene
go back to school — virtually, be-                                                 O’Neill, C.E.O. of the North Ameri-
cause of the pandemic — and en-                                                    can Veterinary Community, which
rolled in the University of Texas’s                                                provides continuing education for
Tower Fellows program in Sep-                                                      veterinarians around the world.
tember. “I have a love of learning,                                                “Because of virtual learning, vet-
and it was an opportunity to step                                                  erinary professionals every-
back, study and explore,” he said.                                                 where, even in remote, undevel-
    The internet has empowered                                                     oped countries, can learn from the
adult learners by providing new                                                    world’s most renowned leaders
online tools to ramp up education                                                  and virtually participate in con-
and training. “The need for work-                                                  ferences,” he said. “This puts
ers to keep pace with fast-moving                                                  learning on an equal platform for
economic, cultural and technolog-                                                  everyone regardless of geogra-                                                                                                                                                                                                JAMES YANG
ical changes, combined with long-                                                  phy, income or time constraints.”
er careers, will add up to great                                                      Ms. Livingston’s goal was to im-                                         manage and lead an online class        locations in five states, serving ur-   and support in environments            a rising passion for knowledge,
swaths of adults who need to learn                                                 prove her skills so she could be-                                           and how to teach Google Class-         ban and rural communities. But          where they could succeed,” Mr.         people are getting excluded from
more than generations past — and                                                   come a paid teacher on the Get-                                             rooms. “Seniors everywhere were        last year it was forced to pivot in     Kamber said.                           the educational process in this
faster than ever,” said Luke                                                       SetUp platform, which offers                                                in lockdown and were eager to          response to the pandemic. “We              While older adults are continu-     country because they’re not on-
Yoquinto, a research associate at                                                  classes — all taught via Zoom by                                            learn and connect,” she said.          taught hundreds of in-person            ing to learn new skills, they also     line,” Mr. Kamber said. Based on a
the M.I.T. AgeLab and co-author                                                    teachers older than 50 — on skills
of “Grasp: The Science Trans-                                                                                                                                    Because she’s interested in          classes before the virus forced the     are starting businesses. In 2019,      research report OATS recently re-
                                                                                   from professional development to                                            cooking and eating healthy meals,      closure of Senior Planet locations      research from the Kauffman             leased in partnership with the Hu-
forming How We Learn.”                                                             technology, health, wellness and
    By 2034, the number of adults                                                                                                                              Ms. Livingston eventually began        in March,” said Tom Kamber, the         Foundation, a nonpartisan group        mana Foundation, nearly 22 mil-
                                                                                   hobbies like photography. There’s                                           teaching classes such as “Great        founder and executive director.         supporting       entrepreneurship,     lion Americans over the age of 65
age 65 and older will outnumber                                                    even a new class about register-
those under the age of 18, accord-                                                                                                                             Dinners in 30 Minutes or Less,”           That’s when his team pulled to-      found that more than 25 percent of     lack broadband access at home.
                                                                                   ing for a Covid-19 vaccine, given
ing to the Census Bureau. “That                                                                                                                                “Healthy Eating on a Budget” and       gether and, within weeks,               new entrepreneurs were ages 55            “The good news, though, is the
                                                                                   the difficulties many people have
growth of older age demographics                                                                                                                               “Healthy Desserts That Are Deli-       launched a fully digital set of         to 64, up from 15 percent in 1996.     level of sophistication of online ed-
                                                                                   faced. There are three member-
will translate to new demand for                                                                                                                               cious, Too.”                           courses and programs that have             Online courses are riding that      ucation is increasing and more ac-
                                                                                   ship levels, starting at free and
enrichment in the form of digital                                                  topping out at $20 a month for un-                                            In January, Oasis, a nonprofit       rapidly expanded its reach to its       start-up wave. GetSetUp, for ex-       cess is coming to rural communi-
education,” Mr. Yoquinto said. “I                                                  limited access.                                                             educational          organization,     primary audience — a global com-        ample, offers courses on running       ties,” Mr. Kamber said. “It’s a
would say that, for both good and                                                     “The nature of work is chang-                                            launched Oasis Everywhere, with        munity of anyone 60 and older.          an e-commerce marketplace,             brave new world of learning for
ill, older demographics are going                                                  ing,” said Neil Dsouza, GetSetUp’s                                          a menu of online classes on sub-          Beyond Senior Planet, OATS           starting a business from home          people, and that gives me hope.”
to serve as a proving ground for                                                   chief executive and co-founder.                                             jects from art to writing. Senior      launched Aging Connected, which         and building a website.                   For Ms. Livingston, that means
learning technologies in the com-                                                  “The traditional way of designing                                           Planet, a unit of Older Adults         aims to get one million older              Other     offerings   for    en-    continuing to take and teach
ing years.”                                                                        training and reskilling is a long,                                          Technology Services, or OATS, is       adults online. It provides tablets,     trepreneurs include Blissen, a         classes at GetSetUp.
    Adult education, however, is                                                   drawn-out program where you get                                             a nonprofit resource for people 60     along with training and technical       three-month virtual boot camp for         “Learning at any stage of life is
“the Wild West” of education tech-                                                 a certificate or a degree. By the                                           and older that offers courses and      support, to 10,000 older residents      entrepreneurs over 50, and the         what stimulates creativity and
nology, according to Mr. Yoquinto.                                                 time you get that certificate, the                                          lectures.                              of New York City Housing Author-        AARP Foundation’s Work for             joy,” she said. “So much energy
There are many outlets experi-                                                     skill is already outdated. We’re                                              OATS was founded in 2004 in          ity communities.                        Yourself @50+, which offers free       emerges from connecting the
menting with ways to get a handle                                                  changing that model.”                                                       New York City as a community-             “I really wanted to create a pro-    webinars and workshops.                dots, having ‘aha’ moments and
on the online adult education mar-                                                    Ms. Livingston, who lives in                                             based project for older adults fo-     gram that would be able to get old-        But all these online opportuni-     gaining skills. I love that I can help
ketplace, including community                                                      York, Pa., signed up to learn how                                           cused on tech education. Since         er adults to use technology and         ties are not possible without ac-      others keep their zest for life and
colleges and universities, for-prof-                                               to use Zoom to host classes, how to                                         then, it has expanded to over 200      give them the kinds of training         cess to the internet. “While there’s   help myself in the process.”




Spring Breakers Are Likely to Be Older, Quieter and Socially Distanced
               By ELAINE GLUSAC                                                       Stricter limits on gatherings,                                           R.V. camping spots in nontradi-                                                                                       in day-to-day life,” said Lynn
Last year, Covid-19 crashed the                                                    mask mandates and restrictions                                              tional settings, such as breweries                                                                                    Bufka, a psychologist and senior
spring break party, but not before                                                 at hotels, restaurants and bars in                                          and farms. Of 3,000 members                                                                                           director at the American Psycho-
mass gatherings on the beaches of                                                  popular spring destinations di-                                             aged 65 and older recently sur-                                                                                       logical Association.
Florida, Texas and Mexico flouted                                                  minish the odds of a repeat.                                                veyed, about three-quarters said                                                                                         One way to do that is to learn a
travel warnings and social-dis-                                                       Virtual classrooms and work-                                             they planned to travel more this                                                                                      skill. Recreational classes include
tancing advice. Ski areas had to                                                   places have freed some students                                             year than last, and almost 58 per-                                                                                    latte-art making lessons at Coffee
shut down during one of the busi-                                                  and families from the traditional                                           cent said they planned to travel                                                                                      Project New York in New York
est periods of the season. Student                                                 spring-break schedule, a shift that                                         more in 2021 than in pre-pandemic                                                                                     City ($110) and learning to ice
trips for enrichment and sports                                                    may dilute 2021 traffic. This trend                                         2019.                                                                                                                 climb with your Covid pod with
were suddenly canceled.                                                            is already showing up in some ski                                              For travelers of any age, spring                                                                                   the nonprofit outdoor education
    Now, a year later, spring break                                                areas that rely on visitors who                                             break will be quieter this year. The                                                                                  organization Rippleffect, based in
is showing signs of life again, albe-                                              drive there, like Lutsen Moun-                                              seasonal escape “is pivoting to do-                                                                                   Portland, Maine ($100 a person
it in forms very different from the                                                tains in northern Minnesota,                                                mestic drive markets, private va-                                                                                     for groups of four or more).
past — even as officials in one                                                    where weekday skier visits have                                             cation rentals or nothing at all,”                                                                                       Staycation offers abound this
spring-break favorite, Florida,                                                    doubled this year.                                                          said Erika Richter, the senior com-                                                                                   spring, from the Hotel Kansas
vow to fight any domestic travel                                                      With colleges shrinking spring                                           munications director for the                                                                                          City in Kansas City, Mo., which
restrictions reportedly under con-                                                 break and the arrival of the vac-                                           American Society of Travel Advi-                                                                                      will throw in a bottle of local bour-
                                                                                   cine, largely prioritized to older                                          sors, noting that multigenera-                                                                                        bon, a $25 food and beverage cred-
sideration by the White House as
                                                                                   Americans, the 2021 spring                                                  tional family trips are trending.                                                                       SOPADRE.COM
                                                                                                                                                                                                                                                                                     it and 2 p.m. late check out (from
cases of more contagious variants                                                                                                                                                                     On South Padre Island, Texas, beach umbrellas must be spaced 15 feet apart.
surge there.                                                                       breaker may be significantly older                                             The seasonal itch to travel runs                                                                                   $219), to the YOTEL Boston,
                                                                                   than the stereotypical one.                                                 headlong into advice from the                                                                                         which will include passes to the
    “We don’t want to see a repeat
                                                                                      “At least in 2021, I think we’ll see                                     Centers for Disease Control and        ties. “As we saw after last year’s      olds, introducing celebrities and      Boston Children’s Museum for the
of last year,” said Steve Hayes,
                                                                                                                                                               Prevention to postpone travel in       spring break, Miami became an           influencers who espouse ditching       whole family, milk and cookies
president and chief executive of                                                   more seniors as spring breakers
                                                                                                                                                               order to avoid contracting or                                                                                         and a plush toy (from $150).
Visit St. Pete/Clearwater, which                                                   as they are the first to have access                                                                               epicenter for Covid-19, and the         high-risk behaviors in order to
                                                                                                                                                               spreading Covid-19.                    people who were dying were not          “Do Colorado Right.”                      In the pandemic, vacation home
promotes tourism in that Gulf                                                      to the vaccine and by March and
                                                                                                                                                                  “My first inclination is to say     college students, but the elderly                                              rentals, which offer privacy and
Coast area, where beaches were                                                     April they’ll have the second                                                                                                                                The campaign features the
                                                                                                                                                               please stay put given the trans-       and those most vulnerable.”                                                    control, have been popular. At
packed last spring. “What we                                                       dose,” said Joel Holland, the chief                                                                                                                        Olympic gold medalist snow-
                                                                                                                                                               mission rates and different vari-                                                                                     Homes & Villas by Marriott Inter-
want is a picture that says, what a                                                executive of Harvest Hosts, a                                                                                         The shift has not gone over well     boarder Red Gerard, whose mes-
                                                                                                                                                               ants of the virus that are circulat-                                                                                  national, current bookings from
difference a year makes.”                                                          membership platform that offers                                                                                    on some campuses, including the         sage is “Shred, don’t spread. Stay
                                                                                                                                                               ing,” said Dr. Darlene Bhavnani,                                                                                      early March through mid-April
                                                                                                                                                                                                      University of Arizona and San           six feet apart, even outside,” and
                                                                                                                                                               an associate professor and infec-                                                                                     are triple compared with last year
                                                                                                                                                                                                      Diego State University where on-        Ben Higgins, a former star of “The
                                                                                                                                                               tious disease epidemiologist at                                                                                       at this time.
Information to identify the case:                                                of whether they ﬁle a proof of claim. Filing a proof of claim submits a                                              line petitions denounced the can-       Bachelor,” sharing safe dating
                                                                                                                                                               Dell Medical School at the Univer-
Debtor: National Riﬂe Association of America ,et al. EIN: XX-XXXXXXX             creditor to the jurisdiction of the bankruptcy court, with consequences a                                            cellations.                             practices, such as, “Love isn’t all    Breaks That Say ‘Spring’
United States Bankruptcy Court Northern District ofTexas                         lawyer can explain. For example, a secured creditor who ﬁles a proof of       sity of Texas at Austin.
Date case ﬁled for chapter 11: 1/15/21                                           claim may surrender important nonmonetary rights, including the right                                                   “What concerns me is mental          that’s in the air, wear a mask.”
Case number: 21-30085-hdh11 (Jointly Administered)                               to a jury trial.                                                                 For those bent on traveling, she                                                                                   In the pandemic, Americans have
                                                                                                                                                               added, “a safer way would be not       health,” said Khanitha Soeung, 19,
Ofﬁcial Form 309F1 (For Corporations or Partnerships)                                8. Exception to discharge deadline: If § 523(c) applies to your
                                                                                                                                                                                                                                              Testing to Travel                      seized on road trips and camping
Notice of Chapter 11 Bankruptcy Case                                10/20        claim and you seek to have it excepted from discharge, you must start a
                                                                                                                                                               to stray too far from home, travel     a mechanical engineering major
                                                                                 judicial proceeding by ﬁling a complaint by the deadline stated below.                                                                                                                              as safe forms of travel. Campspot,
    For the debtor listed above,a case has been filed under chapter
11oftheBankruptcyCode. Anorderforreliefhasbeenentered.
                                                                                 The bankruptcy clerk’s ofﬁce must receive a complaint and any required        with those in your household,          at S.D.S.U. from Long Beach,            Spring bookings in domestic des-       a platform for booking camp-
                                                                                 ﬁling fee by the following deadline.Deadline for filing the complaint:                                               Calif., who started a petition to re-   tinations like Colorado may bene-
    This notice has important information about the case for
creditors and debtors, including information about the meeting
                                                                                 4/23/2021                                                                     keep it to a car ride” and consider                                                                                   grounds and R.V. sites, glamping
ofcreditorsanddeadlines.Readallpagescarefully.
                                                                                     9. Creditors with a foreign address: If you are a creditor receiving
                                                                                                                                                               renting an Airbnb or camping.          store spring break that has over        fit from new testing requirements      tents and cabins, said reserva-
                                                                                 notice mailed to a foreign address,you may ﬁle a motion asking the court
    Theﬁlingofthecaseimposedanautomaticstayagainstmostcollection                 to extend the deadlines in this notice. Consult an attorney familiar with        From testing protocols and          16,000 signatures. With all classes     for U.S. travelers returning from      tions are up 50 percent over last
activities.This means that creditors generally may not take action to collect
debts from the debtor or the debtor’s property.For example,while the stay
                                                                                 United States bankruptcy law if you have any questions about your rights
                                                                                                                                                               travel affidavits to uncrowded         online and a couple of part-time        abroad. Since the new rules were       year to date.
                                                                                 in this case.
is in effect, creditors cannot sue, assert a deﬁciency, repossess property,
or otherwise try to collect from the debtor. Creditors cannot demand
                                                                                     10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows                beaches and bird-watching blinds       jobs, she added, “I’m already           announced, Isla Bella Beach Re-           Spring is also a season of bird
                                                                                 debtors to reorganize or liquidate according to a plan. A plan is not                                                burned out, and it’s Week 2 or 3.”      sort in the Florida Keys reported
repayment from the debtor by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and
                                                                                 effective unless the court conﬁrms it.You may receive a copy of the plan      with capacity caps, here’s how                                                                                        migrations. In central Nebraska
attorney’sfees.
                                                                                 and a disclosure statement telling you about the plan, and you may have
                                                                                                                                                               spring break may look in 2021.                                                 getting 20 reservations from one       every March and early April, over
    Conﬁrmation of a chapter 11 plan may result in a discharge of debt. A
                                                                                 the opportunity to vote on the plan. You will receive notice of the date                                             A Ban on Superspreaders                 travel agent alone, who moved the
creditor who wants to have a particular debt excepted from discharge may
                                                                                 of the conﬁrmation hearing, and you may object to conﬁrmation of the                                                                                                                                600,000 sandhill cranes regularly
be required to ﬁle a complaint in the bankruptcy clerk’s ofﬁce within the
                                                                                 plan and attend the conﬁrmation hearing. Unless a trustee is serving,
                                                                                 the debtor will remain in possession of the property and may continue to      Days Off, Not Weeks                    For those college students who          bookings, mostly for February          convene in the Platte River Valley.
deadlinespeciﬁedinthisnotice.(Seeline11belowformoreinformation.)                                                                                                                                                                              and March, from Jamaica.
    To protect your rights, consult an attorney. All documents ﬁled in
                                                                                 operate its business.
                                                                                                                                                               Many colleges and universities         still have the opportunity to trav-                                            There are virtual tours as well as
                                                                                     11. Discharge of debts: Conﬁrmation of a chapter 11 plan may
the case may be inspected at the bankruptcy clerk’s ofﬁce at the address         result in a discharge of debts, which may include all or part of your debt.   have crimped spring break this         el, many popular destinations              Testing isn’t just for the          in-person visits to viewing blinds
listed below or through PACER (Public Access to Court Electronic Records at
https://pacer.uscourts.gov).
                                                                                 See 11 U.S.C. § 1141(d). A discharge means that creditors may never try
                                                                                                                                                               year. Boston College delayed the       have made it clear that mass gath-      Cancún-bound. In places like Chi-      with restrictions this year that in-
                                                                                 to collect the debt from the debtor except as provided in the plan. If you
Thestaffofthebankruptcyclerk’sofficecannotgivelegaladvice.
Do not file this notice with any proof of claim or other filing in the
                                                                                 want to have a particular debt owed to you excepted from the discharge        start of spring semester to late       erings are not welcome.                 cago and Maine, a negative             clude reduced capacity ($50 a per-
                                                                                 and § 523(c) applies to your claim,you must start a judicial proceeding by                                                                                   Covid-19 test before arrival en-
case.                                                                            ﬁling a complaint and paying the ﬁling fee in the bankruptcy clerk’s ofﬁce    January and canceled its sched-           In St. Petersburg and Clearwa-                                              son, reservations required).
    1. Debtors’fullnames: NationalRiﬂeAssociationofAmerica
                                  SeaGirtLLC
                                                                                 by the deadline.
                                                                                                                                                               uled spring break week in March,       ter, many signs promote hand            ables visitors from most states to        Look for migrations of shore-
                                                                                 INFORMATIONFORTHETELEPHONIC§341MEETINGOFCREDITORS
    2. Allothernamesusedinthelast8years: NRA
                                                                                 Because of developing issues with the COVID-19 virus and the national dec-    offering a midweek day off on          washing, spreading out and mask         skip quarantines.                      birds in the Bosque del Apache
    3. Address: 11250WaplesMillRoad, Fairfax,VA22030
    4. Debtor’s attorney: Patrick J. Neligan Jr., Neligan LLP, 325 N. St.        laration of emergency by thePresident of the United States,§ 341 Meetings
                                                                                                                                                               March 3. The University of Michi-      wearing, and ambassadors called            Pitkin County, Colo., home to       National Wildlife Refuge in south-
Paul, Suite 3600, Dallas, TX 75201, Contact phone: 214-840-5333, Email:          of Creditors (“Meetings”) will be conducted telephonically.The telephone
pneligan@neliganlaw.com                                                          callinnumbersandparticipantcodearefoundontheenclosedNotice.                   gan eliminated its spring break        “Sunshine Steward Street Teams”         Aspen and four major ski areas,        ern New Mexico. Some 500
    5. Bankruptcy clerk’s office: 1100 Commerce Street,Room 1254,                AdditionalDial-InInformation:                                                                                        hand out gift cards from local busi-    has a Traveler Affidavit that re-
Dallas, TX 75242. Documents in this case may be ﬁled at this address.            (1) Youmustuseatouch-tonephonetoparticipate.                                  and added two “well-being break”                                                                                      species have been recorded in the
You may inspect all records ﬁled in this case at this ofﬁce or online at         (2) Landline preferred.If you have a choice,use a landline phone,instead      days during the winter term.           nesses to people wearing their          quires most overnight visitors to      nine sites that make up the World
                                                                                 ofacellphone.Donotuseaspeakerphone.
https://pacer.uscourts.gov. Hours open: Mon.-Fri. 8:30-4:30. Contact
phone: 214-753-2000. Date: 1/28/21                                               (3) Dial the call-in number and then enter the participant code, which        Throughout the current semester,       masks correctly or otherwise fol-       receive a negative Covid-19 test       Birding Center in the Rio Grande
    6. Meeting of creditors: February 22, 2021 at 10:00 AM                       consists of 7 numbers and is followed by a # sign.Immediately place your
                                                                                                                                                               students residing at Yale Univer-      lowing the rules.                       three days before arrival in lieu of   Valley of South Texas. Waterbirds,
BY TELEPHONE. Trustee: United States Trustee. Call in: 1-800-857-                phoneonmute.
4853. Participant passcode: 8285485. Special Instructions: The                   (4) Make the call from a quiet area where there is as little background       sity must seek permission to trav-        In Los Cabos, Mexico, beaches        a 10-day quarantine. Since imple-      raptors and warblers are among
                                                                                 noiseaspossible.                                                                                                                                             menting the system in mid-De-
creditors’meeting call will generally be“listen only.”After other questioning,
                                                                                 (5) As more than one Meeting will be held during this period, listen for      el outside the greater New Haven,      are limited to 40 percent capacity                                             the great diversity of birds migrat-
an operator will open the call to creditors with one or two questions. If you
are a creditor with multiple questions,please make arrangements in advance       your case to be called.When your case is called, unmute your phone and        Conn., area for more than 24 hours     by the police, nightclubs are           cember, the county has received        ing through the Point Reyes Na-
                                                                                 identifyyourself.
by calling Elizabeth Young,Trial Attorney, Office of the U.S.Trustee, at (202)
441-7623. The debtor’s representative must attend the meeting to be              (6) Whenspeakingduringyourcase,identifyyourself.                              and will have five individual days     closed, and a midnight curfew ex-       nearly 60,000 affidavits.              tional Seashore, about 40 miles
questioned under oath.Creditors may attend,but are not required to do so.        (7) Donotputthephoneonholdatanytimeafterthecallisconnected.
                                                                                 (8) If any party is attending the Meeting from the same location as           off between February and April.        tends to restaurants and bars in                                               north of San Francisco.
The meeting may be continued or adjourned to a later date.If so,the date
willbeonthecourtdocket.                                                          anotherparty,useseparatetouch-tonephonestoparticipate.                           Even institutions in Florida, in-   towns and resorts.                      You Don’t Have to Venture Far             Whether it’s a trip of a day or a
                                                                                 (9) OncethecaseMeetingisﬁnished,hangup.
    7. Proof of claim deadline: Deadline for filing proof of claim:
For all creditors (except a governmental unit): 5/24/21. For a                   (10) IfyoubecomedisconnectedbeforeyourMeetingisﬁnished,callback.              cluding the University of Miami           On South Padre Island, Texas,        Mental health experts stress that      week, caution is the theme of
governmental unit: 8/23/21. A proof of claim is a signed statement               Most creditors will be in listen only mode while the U.S. Trustee and         and Florida State University, have     no permits for stages and activi-       you don’t have to stray far from       spring break 2021.
describing a creditor’s claim. A proof of claim form may be obtained at          others such as the creditors’ committee ask general questions about the
www.uscourts.gov or any bankruptcy clerk’s ofﬁce.                                bankruptcy case. Many common questions will be answered during this           canceled spring break.                 ties have been issued. Groups are       home to gain from taking a break.         “For travelers, the experience
    Your claim will be allowed in the amount scheduled unless: • your            time. At the end of the call, the operator will open up the call for other
                                                                                 creditors to ask questions that remain unanswered.If you feel you have a         “I think they are eager to re-      limited to 10, and beach umbrellas         “The benefits of seeing some-       will be totally different,” said Ro-
claim is designated as disputed, contingent, or unliquidated; • you ﬁle
a proof of claim in a different amount; or • you receive another notice.         unique series of questions,please contact the U.S.Trustee in advance of the   dress some of the impressions last     must be spaced 15 feet apart with       thing different, of taking a break     drigo Esponda, the managing di-
If your claim is not scheduled or if your claim is designated as disputed,       meeting. Seeinstructionsonform.
contingent, or unliquidated, you must ﬁle a proof of claim or you might          Bankruptcy Documents: Debtors should have their bankruptcy                    year when students were going          only two chairs.                        from the usual responsibilities        rector of the Los Cabos Tourism
not be paid on your claim and you might be unable to vote on a plan.You          documents available in the event there are questions about the                wild,” said Lynn Pasquerella, the         This month, the Colorado Tour-       and routines, stimulates thinking      Board, which wants to be known
may ﬁle a proof of claim even if your claim is scheduled.You may review          informationinthedocuments.
the schedules at the bankruptcy clerk’s ofﬁce or online at https://pacer.        Recording: The Meeting will be recorded by the trustee or United States       president of the Association of        ism Office began a safe-travel          and creativity, and gives us a fresh   for its safety protocols this year,
uscourts.gov. Secured creditors retain rights in their collateral regardless     Trustee.                                                                      American Colleges & Universi-          campaign aimed at 18-to-25-year-        new perspective on what we face        rather than its parties.
